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        In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                            No. 11-457V
                                      Filed: October 20, 2015

* * * * * * * * * * * * * * * *                                UNPUBLISHED
ASHLEY COPPERTHITE, as next friend and *
mother of ASIA COPPERTHITE, deceased, *
                                       *                       Special Master Gowen
             Petitioner,               *
                                       *                       Joint Stipulation on Damages;
v.                                     *                       Attorneys’ Fees and Costs.
                                       *
SECRETARY OF HEALTH                    *
AND HUMAN SERVICES,                    *
                                       *
             Respondent.               *
                                       *
* * * * * * * * * * * * * * * *

Elaine W. Sharp, Whitfield Sharp & Sharp, LLC, Marblehead, MA, for petitioner.
Claudia B. Gangi, United States Department of Justice, Washington, DC, for respondent.

                     DECISION ON ATTORNEYS’ FEES AND COSTS1

         On July 11, 2011, Ashley Copperthite (“petitioner”) filed a petition on behalf of decedent,
Asia Copperthite, pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§
300aa-1 to -34 (2012). Petitioner alleged that as a result of receiving Pediarix, Hemophilus
influenza type B (“HiB”), and Measles-Mumps-Rubella (“MMR”) vaccinations on January 2,
2008, Asia Copperthite suffered injuries and death on July 22, 2009. Petition at ¶ 12-13, docket
no. 1, filed July 11, 2011. On August 13, 2015, the parties filed a joint status report indicating that
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat.
2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2012)). As provided by Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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they have reached a tentative settlement and request a 15-week order. See Joint Status Report,
docket no. 73, filed Aug. 13, 2015. A 15-week order was issued on August 14, 2015.

        On October 19, 2015, the parties filed a stipulation concerning attorneys’ fees and costs.
Petitioner requests a total award of attorneys’ fees and costs in the amount of $82,823.00. Stip. for
Fees and Costs ¶ 4, docket no. 75, filed Oct. 19, 2015. Respondent does not object. Id. at ¶ 3. In
accordance with General Order #9, petitioner represents that she did not incur any reimbursable
costs in pursuit of this claim. Id. at ¶ 5.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. § 300
aa-15(e). Based on the reasonableness of the parties’ stipulation, the undersigned GRANTS the
request for approval and payment of attorneys’ fees and costs.

       Accordingly, an award should be made as follows:

       (1) in the form of a check jointly payable to petitioner and to petitioner’s attorney,
       Elaine W. Sharp, of Whitfield Sharp & Sharp, LLC in the amount of $82,823.00.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court SHALL ENTER JUDGMENT in accordance herewith.3

       IT IS SO ORDERED.


                                              s/ Thomas L. Gowen
                                              Thomas L. Gowen
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

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